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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-2989-MDL-ALTONAGA/Torres

IN RE:

JANUARY 2021 SHORT SQUEEZE
TRADING LITIGATION
____________________________________/

This Document Relates to:

ALL ANTITRUST ACTIONS

                                         NOTICE OF STRIKING

            Plaintiffs herby submit this notice of striking in regard to ECF No. 411. This document

     was filed in error. Plaintiffs request ECF No. 411 be removed from the public docket. A correct

     version of the filing will follow soon hereafter.


  Respectfully Submitted,                            Dated: September 22, 2021

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